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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                                CASE NO.: 20-cv-23287-DPG

    LUIS MANUEL RODRIGUEZ,
    MARIA TERESA RODRIGUEZ, a/k/a
    MARIA TERESA LANDA,
    ALFREDO RAMON FORNS,
    RAMON ALBERTO RODRIGUEZ,
    RAUL LORENZO RODRIGUEZ,
    CHRISTINA CONROY, and
    FRANCISCO RAMON RODRIGUEZ,

               Plaintiffs,

    v.

    IMPERIAL BRANDS PLC,
    CORPORACIÓN HABANOS, S.A.,
    WPP PLC, YOUNG & RUBICAM LLC,
    and BCW LLC, a/k/a BURSON COHN &
    WOLFE LLC,

               Defendants.

          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
          PLAINTIFFS’ SECOND AMENDED COMPLAINT BY DEFENDANTS
               WPP PLC, YOUNG & RUBICAM LLC, AND BCW LLC
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          Defendants WPP plc (“WPP”), Young & Rubicam LLC (“Y&R”), and BCW LLC

   (“BCW”) (collectively, “WPP Defendants”) respectfully submit this memorandum of law in

   support of their motion to dismiss with prejudice the second amended complaint pursuant to

   Federal Rule of Civil Procedure 12(b)(2) and (6).

                                  PRELIMINARY STATEMENT

          Plaintiffs sue under Title III of the Helms-Burton Act, 22 U.S.C. §§ 6081 et seq., to recover

   three times the value of the “RRHSC Property,” a cigarette factory in Havana allegedly confiscated

   by the Cuban government in 1961. ECF No. 208 (Second Amended Complaint or “SAC”) ¶¶ 1-

   4. As in the two previous complaints, Plaintiffs do not allege that any WPP Defendant has—or

   has ever had—any ownership interest in or control over the RRHSC Property. Plaintiffs further

   do not allege that any WPP Defendant has ever visited, used, or marketed the RRHSC Property.

   And Plaintiffs do not sufficiently describe conduct by WPP Defendants from which the Court

   could reasonably infer any WPP Defendant’s knowledge of the use of the RRHSC Property, or

   even of its existence.

          Plaintiffs instead conclusorily allege that WPP Defendants and affiliated entities,

   beginning no later than 2017, set up “portals” on social media websites on behalf of Corporación

   Habanos, S.A. (“Habanos”) and Imperial Brands plc (“Imperial”) for “marketing and promoting

   Cuban Cigar products.” SAC ¶ 14. At least “[s]ome” of those Cuban cigar products were allegedly

   “purchased, managed and resold” from the RRHSC Property by non-party Tabacuba, id. ¶ 12,

   which is alleged to be Imperial’s joint venture partner in Habanos, id. ¶¶ 13, 17. Based on the

   alleged social media portals that are—at most—indirectly related to the RRHSC Property,

   Plaintiffs seek to hold WPP Defendants liable for three times the value of the RRHSC Property

   itself, as well as interest on that amount for the past 60 years. As explained below, all claims

   against WPP Defendants must be dismissed with prejudice for at least three independent reasons


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   in addition to the bases for dismissal presented in Defendants’ concurrently-filed joint motion to

   dismiss.

          First, the exercise of personal jurisdiction over WPP Defendants is improper under either

   Florida’s long-arm statute or Federal Rule of Civil Procedure 4(k). Even after the benefit of

   extensive jurisdictional discovery, Plaintiffs fail to allege any conduct tying their allegedly

   confiscated Cuban factory to the state of Florida. Plaintiffs claim that this Court nevertheless has

   jurisdiction over British holding company WPP and two of its Delaware-incorporated indirect

   subsidiaries, Y&R and BCW, largely because (1) Y&R and BCW have a small business presence

   in the state; and (2) an ill-defined “WPP Group” uses U.S. Internet and administrative services.

   Even assuming the truth of those allegations, neither BCW’s or Y&R’s Florida offices nor the

   WPP Group’s allegedly shared U.S. administrative services demonstrate any connection between

   the conduct at issue and the state of Florida.        The allegations are insufficient to establish

   jurisdiction over any WPP Defendant in this Court.

          Second, the SAC fails to state a claim because the vague marketing services allegedly

   undertaken by WPP Defendants do not constitute “trafficking.” Title III was not intended to reach

   marketing activities that do not involve transacting in the confiscated property by entities that have

   no ownership or other interest in confiscated property and that have never made use of confiscated

   property. Moreover, extending Title III to such marketing also would implicate constitutional

   concerns, as doing so would regulate speech protected by the First Amendment. This Court should

   not interpret “trafficking” so broadly as to impose severe monetary penalties on protected speech.

          Third, Plaintiffs attempt to hold each WPP Defendant liable for the conduct of a broad and

   loosely defined “WPP Group” consisting of nonparties and unnamed corporate affiliates. This

   treatment of WPP Defendants and other nonparties as a single entity only serves to obfuscate the




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   lack of individualized allegations as to WPP Defendants and thus runs afoul of Rule 8(b)’s notice

   pleading requirements. Plaintiffs also make no attempt to provide a legal basis for imputing the

   acts of distinct corporate entities to WPP Defendants.

          Despite two prior complaints and two months of discovery, Plaintiffs cannot cure the

   defects in their earlier complaints. Allowing Plaintiffs any further amendment would be futile.

   WPP Defendants respectfully request that the Court grant this motion to dismiss with prejudice.

                                          BACKGROUND

          Under Title III of the Helms-Burton Act, Plaintiffs allege that they own a claim to the

   RRHSC Property, and that Defendants “trafficked” in this property. SAC ¶¶ 3-4, 73. Plaintiffs

   filed their initial complaint on August 6, 2020, ECF No. 1, which WPP Defendants and Imperial

   moved to dismiss on grounds similar to the present motion. ECF Nos. 72-74. Plaintiffs then

   amended their complaint in response to the motions to dismiss, ECF Nos. 82, 84, and all

   Defendants moved to dismiss for the same defects unaddressed by Plaintiffs’ amendment. ECF

   Nos. 88-89, 91, 93. In response to these motions to dismiss, Plaintiffs obtained leave to conduct

   jurisdictional discovery, ECF No. 133, during which WPP Defendants responded to more than 150

   document requests and to two corporate representative depositions. After jurisdictional discovery

   closed and while briefing on the second motions to dismiss was in process, Plaintiffs again

   amended their complaint before the Court could issue a ruling. ECF No. 208. WPP Defendants

   now move to dismiss this SAC, which suffers from the same fatal defects as the prior two

   complaints.

          According to Plaintiffs, beginning in January 2008, Habanos and other non-party “Cuban

   Joint Ventures” allegedly used the RRHSC Property to produce and distribute hand-rolled cigars.

   SAC ¶¶ 17-18, 78-79. Plaintiffs allege that WPP was retained as an “agent”—along with WPP’s




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   U.S.-based subsidiaries Y&R and BCW, “the WPP Group,” and non-parties Ogilvy & Mather, 1

   Twitter, YouTube, and Instagram—to “assist ... by marketing and publicizing” Habanos’ products

   “since at least 2010.” Id. ¶¶ 20-21, 61. 2 The SAC does not describe the scope or form of the

   alleged marketing activities, except to allege that “no later than 2017,” the WPP Group, “nominally

   acting through” Y&R and BCW, set up “portals” on social media websites, Twitter, YouTube, and

   Instagram. Id. ¶ 22.

          Plaintiffs define the “WPP Group” as “WPP, together with Y&R, BCW, Ogilvy, and other

   WPP subsidiaries.” SAC ¶ 21. Aside from the introduction of the “WPP Group,” one of Plaintiffs’

   few new allegations added after jurisdictional discovery states that “WPP, Y&R, BCW, and the

   WPP Group” purchased licenses for IT services, which Plaintiffs refer to as “US Services,” and

   shared these services among named WPP Defendants and unnamed WPP entities. Id. ¶ 54. WPP

   then “directed or allowed its U.S. subsidiaries, including Y&R, BCW, WPP USA and the WPP

   Group, to use US Services” to provide marketing and advertising services for Habanos. Id. ¶ 62.

          Plaintiffs make no further allegation identifying the possibly-involved entities, specifying

   any work these unnamed entities performed, or explaining what it means to “direct[] or allow[] ...

   use [of the] US Services.” SAC ¶ 62. As in the original and amended complaints, Plaintiffs allege


   1
     Plaintiffs’ allegations regarding Ogilvy are irrelevant, and the Court should disregard them.
   Plaintiffs explicitly concede that Ogilvy stopped any alleged Cuba-related marketing work in 2015,
   SAC ¶ 83, and thus these actions are beyond the statute of limitations for the Helms-Burton Act.
   Moreover, Ogilvy is a distinct corporation that Plaintiffs have opted against naming as a defendant
   in this suit three times.
   2
     The SAC is inconsistent about who retained which WPP entities. Plaintiffs claim that Imperial
   retained “WPP, the WPP Group and its U.S.-based corporate agents, Ogilvy and later Y&R and
   BCW” “either directly or through Habanos,” SAC ¶ 61 (emphases added), suggesting that every
   WPP Defendant and unspecified non-parties had contracts to market Habanos products.
   Plaintiffs then allege that the advertising agencies were hired by Imperial and Habanos. Id.
   ¶¶ 20, 82 (emphasis added). Not only are these allegations inconsistent, Plaintiffs know from
   jurisdictional discovery that neither Imperial nor Habanos retained any WPP Defendant for the
   alleged marketing activity at issue in this case.


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   only that “[b]eginning in 2016,” marketing responsibility “switched” from non-party Ogilvy to

   Y&R. Id. ¶ 83. “[B]eginning in 2019,” marketing “was again nominally switched to still another

   WPP subsidiary, BCW.” Id. Not only do Plaintiffs fail to allege any facts that would explain their

   vague references to advertising activities, but Plaintiffs also do not allege who performed which

   services for which parties. Instead Plaintiffs allege the advertising activity was undertaken either

   directly or through “U.S. Corporate Agents” (defined as Y&R, BCW, Ogilvy, Twitter, YouTube,

   and Instagram), WPP, the WPP Group or unnamed affiliates of WPP, Y&R, or BCW. Plaintiffs

   claim that all three WPP Defendants “cause[d], direct[ed] [or] participate[d] in, or profit[ed] from,

   trafficking” in Habanos products “manufactured at, stored in, or distributed from the confiscated

   RRHSC Property” in violation of the Helms-Burton Act. Id. ¶¶ 45, 57-58, 61, 82.

          Though Y&R and BCW have “offices in Miami-Dade County,” SAC ¶¶ 37, 39, Plaintiffs

   do not assert that WPP Defendants did anything in Florida relevant to this suit. Nor do Plaintiffs

   suggest any alleged advertising was targeted toward—or even seen by—Florida residents.

                                             ARGUMENT

   I.     DESPITE EXTENSIVE JURISDICTIONAL DISCOVERY, PLAINTIFFS STILL
          FAIL TO ALLEGE PERSONAL JURISDICTION OVER WPP, Y&R, AND BCW

          A complaint may survive a motion to dismiss for lack of personal jurisdiction only when

   it “establish[es] a prima facie case of personal jurisdiction over a nonresident defendant.” Madara

   v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990). A district court accepts facts alleged in the

   plaintiff’s complaint as true only when they are not “vague and conclusory allegations.” Snow v.

   DirecTV, Inc., 450 F.3d 1314, 1318 (11th Cir. 2006). When presented with a motion to dismiss

   for lack of personal jurisdiction and for failure to state a claim, a district court should address

   personal jurisdiction before addressing whether plaintiffs state a claim. Madara, 916 F.2d at 1514.




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          The allegations in the SAC fall far short of establishing that any relevant conduct occurred

   in Florida that would justify specific personal jurisdiction in the state, and no WPP Defendant

   comes close to being “essentially at home” in Florida to the extent necessary to establish general

   personal jurisdiction. See SAC ¶¶ 66-69. Rule 4(k) jurisdiction is likewise improper because the

   SAC alleges that all WPP Defendants have their places of incorporation or principal places of

   business elsewhere in the U.S. See id. ¶¶ 36-39. Because no avenue exists to establish personal

   jurisdiction over WPP Defendants, the SAC should be dismissed with prejudice as to all WPP

   Defendants.

          A.      Plaintiffs Still Fail To Establish Specific Jurisdiction Over WPP, Y&R, Or
                  BCW Under Florida’s Long-Arm Statute

                  1.      Florida’s Long-Arm Statute Does Not Authorize Specific Jurisdiction
                          Because None Of The Allegedly Tortious Activities Took Place In Florida

          Plaintiffs contend that the exercise of specific jurisdiction over WPP Defendants is proper

   under section 48.193(1)(a) of Florida’s long-arm statute. See SAC ¶ 66. Jurisdiction is not

   appropriate under section 48.193(1)(a)(2) unless the cause of action “aris[es] from” the defendant’s

   “[c]ommitting a tortious act within this state,” meaning there must be “a direct affiliation, nexus,

   or substantial connection” between the cause of action and the defendant’s activity. Melgarejo v.

   Pycsa Pan., S.A., 537 F. App’x 852, 860 (11th Cir. 2013) (internal quotations omitted) (quoting

   Citicorp Ins. Brokers (Marine), Ltd. v. Charman, 635 So. 2d 79, 82 (Fla. 1st DCA 1994)). Yet,

   for the third time, Plaintiffs allege no facts connecting this case to Florida.

          Plaintiffs’ claim against WPP Defendants arises from the alleged marketing and social

   media promotion of Cuban cigars and the Habanos brand name. See SAC ¶ 14. None of the

   alleged marketing activity, however, took place in Florida. No WPP Defendant is incorporated or

   headquartered in Florida. See id. ¶¶ 36-37, 39. WPP is not alleged to have any offices, employees,

   or presence of any kind in Florida. Although both BCW and Y&R are “qualified” to do business


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   in Florida and have offices in Florida, id. ¶¶ 37, 39, the SAC does not allege that any of the

   marketing at issue here was done at or from those offices—and it was not, as Plaintiffs know from

   their jurisdictional discovery of WPP Defendants. 3 The SAC does not allege that any Florida-

   based employees had any involvement in the marketing of Cuban cigars or even access to the

   social media “portals” at the center of Plaintiffs’ allegations. Moreover, Plaintiffs fail to allege

   that any of WPP Defendants’ alleged advertising activities specifically targeted Florida or

   Floridians or that Floridians even accessed or saw the allegedly unlawful marketing. Plaintiffs’

   deficient allegations fail to demonstrate “a direct affiliation, nexus, or substantial connection”

   between the cause of action and WPP Defendants in Florida. See Melgarejo, 537 F. App’x at 860.

           Last year in Del Valle v. Trivago GMBH, another court in this District declined specific

   jurisdiction over defendants sued under the Helms-Burton Act in similar circumstances. 2020 WL

   2733729, at *3 (S.D. Fla. May 26, 2020), appeal filed, (11th Cir. June 24, 2020). The plaintiffs

   argued that defendants Expedia, Inc. and Booking.com unlawfully rented hotel rooms at a property

   confiscated by the Cuban government. See id. The plaintiffs claimed that personal jurisdiction

   was appropriate—and that the tort occurred in Florida—because the plaintiffs resided in Florida,

   and websites promoting the rentals were accessible in Florida. See id. The court disagreed, finding

   that the alleged trafficking occurred at the confiscated property in Cuba, not through a website.

   See id. It accordingly dismissed the defendants from the suit for lack of personal jurisdiction. See

   id. at *5.

           Plaintiffs’ argument is identical to the claim rejected in Del Valle: Plaintiffs allege that

   tortious acts occurred in Florida primarily because several Plaintiffs reside in Florida. SAC ¶¶ 24,




   3
    Plaintiffs know from jurisdictional discovery that all allegedly relevant marketing work was
   performed in Spain by two Spain-based entities.


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   45, 57-59 (alleging the defendants’ trafficking “caused damage to Plaintiffs, five of whom reside

   in Florida”). Yet “the existence of an injury within Florida ... is insufficient to support jurisdiction

   over an out-of-state tortfeasor.” Taylor v. Moskow, 717 F. App’x 836, 841 (11th Cir. 2017)

   (quoting Kountze v. Kountze, 996 So. 2d 246, 252 (Fla. App. 2008)). As in Del Valle, the SAC’s

   core connection to Florida is that Plaintiffs reside here. SAC ¶¶ 24-25. And as in Del Valle, no

   tort is alleged to have occurred in Florida. See 2020 WL 2733729, at *3. There is accordingly no

   basis for this Court to exercise specific jurisdiction over WPP, Y&R, or BCW.

                  2.      Plaintiffs Allege No Basis To Impute Jurisdictional Contacts To WPP

          Plaintiffs also appear to allege the Court may impute Y&R and BCW’s alleged contacts in

   Florida to WPP to establish specific jurisdiction over WPP. See SAC ¶ 46. But that is not correct.

   “[A] foreign parent corporation is not subject to the jurisdiction of a forum state merely because a

   subsidiary is doing business there.” Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1272 (11th Cir.

   2002). To establish specific jurisdiction over a nonresident parent corporation based on the

   jurisdictional contacts of a subsidiary, the plaintiff must demonstrate either the existence of an

   agency relationship between the parent and the subsidiary, see id. at 1273, or facts sufficient for

   “the court to pierce the corporate veil,” see MeterLogic, Inc. v. Copier Solutions, Inc., 126 F. Supp.

   2d 1346, 1354 (S.D. Fla. 2000). It is not clear whether Plaintiffs attempt to allege an agency or

   alter ego theory, but their allegations are insufficient in any event. To establish an agency

   relationship for the purposes of exercising specific personal jurisdiction under Florida’s long-arm

   arm statute, a plaintiff must show: (1) acknowledgment by the principal that the agent will act for

   it; (2) the agent’s acceptance of the undertaking; and (3) control by the principal over the actions

   of the agent. Virgin Health Corp. v. Virgin Enters. Ltd., 393 F. App’x 623, 626 (11th Cir. 2010).

   Similarly, to pierce the corporate veil under an alter ego theory, the Court must analyze whether

   “(1) the subsidiary was a mere instrumentality of the parent, and (2) the parent engaged in


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   improper conduct through its organization or use of the subsidiary.”            Johnson Enter. of

   Jacksonville, Inc. v. FPL Group, Inc., 162 F.3d 1290, 1320 (11th Cir. 1998) (internal quotations

   and citations omitted).

          There are few allegations in the SAC even marginally relevant to establishing alter ego or

   agency. Plaintiffs state that WPP, Y&R, and BCW, together with the so-called “WPP Group,”

   allegedly “purchase Internet, email, and other networking and telecom services in the United

   States” and “distribute US Services” amongst WPP Group entities. SAC ¶ 54. But “a corporate

   parent may provide administrative services for its subsidiary in the ordinary course of business

   without calling into question the separateness of the two entities for purposes of personal

   jurisdiction.” Central States, Se. & Sw. Areas Pension Fund v. Reimer Express World Corp., 230

   F.3d 934, 939, 945 (7th Cir. 2000); see also UnitedHealthcare of Fla., Inc. v. Am. Renal Assocs.

   Holdings, Inc., 2017 WL 1832436, at *7 (S.D. Fla. May 8, 2017) (finding “the sharing of a website,

   address or telephone number and the use of the same generic trademarks” insufficient to

   demonstrate an agency relationship). Plaintiffs repeatedly allege that “Y&R and its affiliates,”

   “BCW and its affiliates,” and “members of the WPP Group ... act as alter egos for one another.”

   SAC ¶¶ 46, 48, 51. Plaintiffs also add, without any explanation or underlying facts, that “WPP

   uses employees of the various WPP affiliates in the WPP Group to supervise and control the

   entirety of the WPP Group.” Id. ¶ 46. The SAC contains no further description of the method by

   which named and unnamed WPP entities “act as alter egos,” id. ¶¶ 46, 48, 51, or how WPP

   “supervise[s] and control[s]” its subsidiaries, id. ¶¶ 46. Plaintiffs never explain the relevance of

   these vague and conclusory allegations to alter ego or agency theories even with the benefit of

   discovery. Such conclusory allegations, without any factual support, should not be credited. Snow,

   450 F.3d at 1318.




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                  3.      Exercising Specific Jurisdiction Would Violate WPP Defendants’ Due
                          Process Rights

          Application of the Florida long-arm statute must also satisfy due process. See Waite v. All

   Acquisition Corp., 901 F.3d 1307, 1312 (11th Cir. 2018). To exercise specific jurisdiction, the

   Court analyzes: “(1) whether the plaintiff’s claims ‘arise out of or relate to’ ... the defendant’s

   contacts with the forum; (2) whether the nonresident defendant ‘purposefully availed’ himself of

   the privilege of conducting activities within the forum state ... ; and (3) whether the exercise of

   personal jurisdiction comports with ‘traditional notions of fair play and substantial justice.’” Louis

   Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (quoting Int’l Shoe Co.

   v. Washington, 326 U.S. 310, 316 (1945)).

          The first two elements of the due process test fail because of the same factual deficiencies

   that prevent Plaintiffs from satisfying Florida’s long-arm statute. 4 Namely, as described in Section

   I.A.1, Plaintiffs make no allegations connecting WPP Defendants’ alleged work to Florida. None

   of the marketing activities at issue here are alleged to have been planned or executed in Florida.

   Yet, to satisfy the first element of due process, there must be “an affiliation between the forum and

   the underlying controversy, principally, an activity or an occurrence that takes place in the forum

   State and is therefore subject to the State’s regulation.” Ford Motor Co. v. Montana Eighth Jud.

   Dist. Ct., 141 S. Ct. 1017, 1025 (2021) (brackets and internal quotations omitted). Plaintiffs

   accordingly fail to satisfy the “arise out of or relate to” requirement of due process.




   4
    Only after the plaintiff has satisfied the first two elements of the due process test does the court
   consider “traditional notions of fair play and substantial justice.” Mosseri, 736 F.3d at 1355 (citing
   Diamond Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1267 (11th Cir. 2010)).
   Because Plaintiffs do not satisfy the first two elements with respect to any of the WPP Defendants,
   the Court need not consider “traditional notions of fair play and substantial justice.”


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          Further, Plaintiffs do not plead that the alleged marketing targeted Florida. Even if they

   did, however, it would be insufficient to show purposeful availment, which requires that the

   defendant’s “minimum contacts” (1) be “related to the plaintiff’s cause of action; (2) involve some

   act by which the defendant purposefully availed himself of the privileges of doing business within

   the forum; and (3) [be] such that the defendant should reasonably anticipate being haled into court

   in the forum.” Mosseri, 736 F.3d at 1357; see also Fraser v. Smith, 594 F.3d 842, 847 (11th Cir.

   2010) (“Other courts have recognized that ‘the mere existence of a website that is visible in a

   forum and that gives information about a company and its products is not enough, by itself, to

   subject a defendant to personal jurisdiction in that forum.’” (quoting McBee v. Delica Co., 417

   F.3d 107, 124 (1st Cir. 2005)); BTG Patent Holdings, LLC v. Bag2Go, GmbH, 193 F. Supp. 3d

   1310, 1320 (S.D. Fla. 2016) (refusing to find purposeful availment where the only activities in

   Florida were “Internet press releases, third party news stories, and social media activities”).

   Plaintiffs allege no facts that would satisfy these elements. Thus, without minimum contacts, the

   exercise of personal jurisdiction would violate WPP Defendants’ due process rights. 5

          B.      General Jurisdiction Over Any Of The WPP Defendants Is Improper

          Unlike the prior two iterations of the complaint, Plaintiffs’ SAC contends that the Court

   has general jurisdiction over WPP Defendants via the Florida long-arm statute. See SAC ¶¶ 67-

   69. It reasserts that jurisdiction exists via Federal Rule of Civil Procedure 4(k)(2). Id. ¶ 70.

   Neither argument is persuasive.


   5
     In its individual motion to dismiss, Imperial argues that no legislative jurisdiction exists over
   Imperial’s foreign business, ECF No. 226, at 17-20, an argument equally relevant to WPP’s foreign
   business. Because “[t]he inquiry into whether sufficient legislative jurisdiction exists is similar to
   that explored in determining sufficient minimum contacts for the purposes of assessing ... personal
   jurisdiction consistent with due process,” Am. Charities for Reasonable Fundraising Regul., Inc.
   v. Pinellas Cnty., 221 F.3d 1211, 1216 (11th Cir. 2000), the reasoning in Section II of Imperial’s
   individual motion applies, and there is no legislative jurisdiction as to WPP.


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                   1.      General Jurisdiction Over WPP Defendants In Florida Is Both Improper
                           And Unconstitutional

            Because Florida’s long-arm statute “extends to the limits on personal jurisdiction imposed

   by the Due Process Clause,” this Court need only determine whether the exercise of general

   jurisdiction over WPP Defendants “would exceed constitutional bounds.”              Carmouche v.

   Tamborlee Mgmt., Inc., 789 F.3d 1201, 1204 (11th Cir. 2015). General personal jurisdiction exists

   only when a corporation’s place of incorporation or principal place of business is located in the

   forum or, in “exceptional” cases, where its operations are “so substantial and of such a nature as

   to render the corporation at home in that State.” Daimler AG v. Bauman, 571 U.S. 117, 137, 139

   n.19 (2014); see, e.g., Waite, 901 F.3d at 1317. WPP Defendants are not subject to general

   jurisdiction in Florida because—as the SAC acknowledges—no WPP Defendant has its place of

   incorporation or principal place of business in the state. See SAC ¶¶ 37, 39 (alleging Y&R and

   BCW are incorporated in Delaware 6 with their principal places of business in New York); id. ¶ 36

   (alleging WPP “is a limited liability company incorporated in the Bailiwick of Jersey with ‘dual-

   headquarters in London and New York City’”).

            Nor do Plaintiffs offer any exceptional circumstances that could subject WPP, Y&R, or

   BCW to general jurisdiction in Florida under Florida’s long-arm statute. A truly “exceptional”

   case is one in which a nonresident defendant’s operations are “so substantial and of such a nature

   as to render [it] at home in the State.” Waite, 901 F.3d at 1317. To show circumstances are

   “exceptional,” the plaintiff must demonstrate that “the [defendant] corporation’s activities in the

   forum closely approximate the activities that ordinarily characterize a corporation’s place of

   incorporation or principal place of business.” Carmouche, 789 F.3d at 1205. Plaintiffs here do



   6
       Plaintiffs also allege that Y&R was incorporated in New York rather than Delaware. SAC ¶ 38.


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   not assert such “exceptional” circumstances. Plaintiffs plead only that Y&R and BCW have

   “authority to transact business” in Florida, “derive[] significant income” from Florida, and own or

   lease property in Florida. SAC ¶¶ 67-68. Plaintiffs plead no relationship between WPP and

   Florida beyond WPP’s ownership of Y&R and BCW. See id. ¶ 20. Without alleging WPP

   Defendants’ leadership was based in Florida or the companies directed their operations from

   Florida, Plaintiffs’ allegations about BCW and Y&R’s limited activities in the forum do not

   demonstrate that either company or WPP is “at home” in the state. Waite, 901 F.3d at 1318

   (finding no general jurisdiction despite the company’s “significant business in Florida” because

   there was no allegation that company leadership was based in Florida or otherwise directed its

   operations from Florida). It would accordingly be unconstitutional to exercise general jurisdiction

   over WPP Defendants. 7

                  2.      There Is No Jurisdiction Over WPP Pursuant To Rule 4(k)

          Finally, Plaintiffs raise the notion that WPP could be subject to jurisdiction under Federal

   Rule of Civil Procedure 4(k)(2). SAC ¶ 70. This rule permits suit against a foreign corporation

   whose contacts with the U.S. are “so ‘continuous and systematic’ as to render [it] essentially at

   home” here, while simultaneously not being sufficient to provide general jurisdiction in any one

   state. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (quoting Int’l

   Shoe Co., 326 U.S. at 317). The Supreme Court and Eleventh Circuit have described such

   instances as “exceptional,” Daimler, 571 U.S. at 139 n.19; Schulman v. Inst. for Shipboard Educ.,


   7
     The Supreme Court in Daimler, 571 U.S. at 135 & n.13, and courts in this District have foreclosed
   the argument that general jurisdiction can be asserted over a foreign entity based on the
   jurisdictional contacts of its alleged agent. See, e.g., McCullough v. Royal Caribbean Cruises,
   Ltd., 268 F. Supp. 3d 1336, 1348 (S.D. Fla. 2017) (Gayles, J.) (collecting cases). While the
   Supreme Court has recognized that agency relationships “may be relevant to the existence of
   specific jurisdiction,” “[i]t does not inevitably follow ... that similar reasoning applies to general
   jurisdiction.” Daimler, 571 U.S. at 135 n.13.


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   624 F. App’x 1002, 1006 (11th Cir. 2015), and courts in this District have emphasized the rarity

   of satisfying Rule 4(k)(2). See, e.g., Thompson v. Carnival Corp., 174 F. Supp. 3d 1327, 1337

   (S.D. Fla. 2016) (“[I]t is a rare occurrence when a court invokes jurisdiction under the rule.”).

          The Eleventh Circuit has ruled that jurisdiction via Rule 4(k)(2) is inappropriate in virtually

   identical circumstances. In Consolidated Development Corp. v. Sherritt, Inc., the Eleventh Circuit

   denied general jurisdiction over Canadian parent companies under Rule 4(k)(2) where the parent

   companies were not registered to do business in the U.S., did not have employees in the U.S., and

   did not own property in the U.S. 216 F.3d 1286, 1292-93 (11th Cir. 2000). Here, similarly,

   Plaintiffs do not allege that WPP is registered to do business in the U.S. or owns property in the

   U.S. 8 Further, as Plaintiffs admit, WPP has “few if any direct employees” anywhere, let alone in

   the U.S. SAC ¶ 46. Rule 4(k) jurisdiction does not apply to WPP. To the extent Rule 4(k) applies

   to WPP, that exercise of jurisdiction is also unconstitutional because Plaintiffs fail to allege any

   minimum contacts between WPP and the U.S. See Section I.B.2.

   II.    PLAINTIFFS CANNOT DEMONSTRATE THAT WPP, Y&R, AND BCW
          UNLAWFULLY “TRAFFICKED” IN ALLEGEDLY CONFISCATED PROPERTY

          The SAC fails to allege WPP Defendants’ alleged marketing activity constitutes

   “trafficking” in property confiscated by the Cuban government. 9 “[T]rafficking” is an essential



   8
     The SAC includes allegations that defeat its own Rule 4(k)(2) arguments, alleging that WPP
   “maintains a principal place of business in New York.” SAC ¶ 36. While WPP Defendants do
   not agree with this assertion—or the notion that a corporation can have more than one “principal”
   place of business—jurisdiction cannot be premised on Rule 4(k)(2) unless a defendant is not
   subject to jurisdiction in any U.S. state, which cannot be true for WPP if, as Plaintiffs allege, WPP
   “maintains a principal place of business in New York.” Id.; see Schulman, 624 F. App’x at 1006
   (citing Goodyear Dunlop Tires Operations, S.A., 564 U.S. at 919).
   9
    The joint motion to dismiss filed by all co-defendants demonstrates that WPP Defendants’ and
   Imperial’s purported liability flows entirely from the alleged conduct of Habanos (a “Cuban joint
   venture corporation,” SAC ¶ 35) and/or non-party Tabacuba (“the Cuban tobacco monopoly
   company,” id. ¶ 17), which cannot constitute trafficking for which Defendants could be liable.


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   element of a Title III claim, 22 U.S.C. § 6082(a), and consists of “knowingly and intentionally”

   committing certain acts with respect to confiscated property without proper authorization, id.

   § 6023(13). As relevant here, § 6023(13)(A) provides that an entity “traffics” when it:

           (i) sells, transfers, distributes, dispenses, brokers, manages, or otherwise disposes
           of confiscated property, or purchases, leases, receives, possesses, obtains control
           of, manages, uses, or otherwise acquires or holds an interest in confiscated property,

           (ii) engages in a commercial activity using or otherwise benefiting from confiscated
           property, or

           (iii) causes, directs, participates in, or profits from, trafficking (as described in
           clause (i) or (ii)) by another person, or otherwise engages in trafficking (as
           described in clause (i) or (ii)) through another person.

   Id. § 6023(13)(A).

           Plaintiffs rely only upon the third provision here: They allege that each WPP Defendant

   “causes, directs [or] participates in, or profits from, trafficking” by “Direct Traffickers” Imperial

   and Habanos as well as non-parties Twitter, YouTube, and Instagram. SAC ¶¶ 41, 44-45, 57-59,

   81, 84, 96. Plaintiffs’ theory must be—given the lack of allegations that WPP, Y&R, or BCW

   caused, directed, or participated in trafficking—that WPP Defendants “profit[ed] from” being

   hired to market Cuban cigars. See id. ¶¶ 61, 82-84. Under Plaintiffs’ theory, any company

   receiving money from alleged “Direct Traffickers” in connection with those entities’ business

   would be liable for trafficking under the Helms-Burton Act. 10 There is no legal basis for Plaintiffs’

   near-limitless indirect trafficking theory.



   10
      In an attempt to distort the statute’s definition of “trafficking,” Plaintiffs rely on a distinct, and
   irrelevant, regulatory regime known as the Cuban Assets Control Regulations (“CACR”). SAC
   ¶ 56. The CACR, promulgated by the Office of Foreign Assets Control (“OFAC”) over 30 years
   before Helms-Burton was enacted, determines which activities U.S. companies may engage in
   with Cuban persons or entities. U.S. Gov’t Accountability Off., GAO-17-201, Cuba: U.S. Policy
   Changes Increased Engagement with Private Sector 9, 50 (2016). Plaintiffs have incorrectly—and
   misleadingly—conflated Title III of the Helms-Burton Act with OFAC regulations for imports and
   exports of goods and services. The CACR has nothing to do with this case.


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          Title III cannot be read as broadly as Plaintiffs suggest. When it enacted Helms-Burton,

   Congress focused on foreign investment and direct dealing in confiscated property. Title III’s

   statutory findings reflect Congress’s concern that “[t]he Cuban Government is offering foreign

   investors the opportunity to purchase an equity interest in, manage, or enter into joint ventures

   using [confiscated] property” and “[t]his ‘trafficking’ ... undermines the foreign policy of the

   United States.” 22 U.S.C. § 6081(5)-(6) (emphasis added). Section 6023(13)(A)(iii) was intended

   to ensure that corporations could not evade liability for their investments in confiscated property

   through the use of joint ventures or other corporate structuring—not to dramatically expand the

   scope of trafficking to companies that have no interest in or control over and that do not use the

   confiscated property. See id. § 6023(13)(A)(iii) (noting the provision was limited to “trafficking

   (as described in clause (i) or (ii)”); see also Cuban Liberty and Democratic Solidarity Act:

   Hearings No. 104-212 Before the S. Comm on Western Hemisphere and Peace Corps Affairs,

   104th Cong. 152 (1995) (statement of Ignacio E. Sanchez) (Section 6023(13)(A)(iii) “makes it

   clear ... to the courts that Congress’ intent is that intermediate shell subsidiaries not be created to

   avoid liability .... Therefore, it takes up the chain of a parent company ... which is not doing it

   directly but through some subsidiaries”).

          Here, Plaintiffs argue WPP Defendants “trafficked” in the RRHSC Property although WPP

   Defendants have not owned, used, or had any interest in or control over that property. Nor did

   WPP Defendants market the RRHSC Property itself or reference the RRHSC Property in any

   marketing. Indeed, Plaintiffs allege no direct relationship between WPP Defendants and the

   property. To impose liability under such circumstances would impose liability on a virtually

   limitless variety of actors, for example: organizers of cigar conventions in Europe at which

   Habanos pays a fee to display its products; the owners of countless tobacco shops and cigar bars




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   from South America to Australia that may keep a few boxes of Habanos products on their shelves;

   and journalists who write articles about cigarmaking. Each of these actors would have—under

   Plaintiffs’ theory—profited from Habanos’ alleged use of the confiscated property to manufacture

   and distribute cigars. This is not what Congress intended nor what the statute says.

          Unsurprisingly, the only Helms-Burton claims to survive the pleading or summary

   judgment stages have involved direct use of the allegedly confiscated property. See, e.g., de

   Fernandez v. Crowley Holdings, Inc., 2022 WL 860373, at *2, *5 (S.D. Fla. Mar. 23, 2022)

   (Gayles, J.) (holding plaintiffs sufficiently alleged trafficking where the defendants “dock[ed] their

   ships, load[ed] and unload[ed] containers, and use[d] the Container Terminal’s services” on the

   allegedly confiscated property); Havana Docks Corp. v. Carnival Corp., 2022 WL 831160, at *1,

   *45 (S.D. Fla. Mar. 21, 2022) (finding the defendants “trafficked” in the confiscated property

   because the defendants’ ships used the docks in Havana to embark and disembark passengers).

   Unlike Havana Docks, Plaintiffs here do not allege that WPP Defendants even directly interacted

   with the confiscated property. Id. at *46; 22 U.S.C. § 6023(13)(A)(i), (ii). With no connection to

   the confiscated property, there can be no trafficking.

          Holding advertising companies liable for marketing activities would also implicate

   constitutional concerns. Advertising is entitled to First Amendment protections. Virginia State

   Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 760-70 (1976) (rejecting

   a First Amendment exception for commercial speech); Ocheesee Creamery LLC v. Putnam, 851

   F.3d 1228, 1234 (11th Cir. 2017). Under the doctrine of “constitutional avoidance,” “where an

   otherwise acceptable construction of a statute would raise serious constitutional problems, the

   Court will construe the statute to avoid such problems unless such construction is plainly contrary

   to the intent of Congress.” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades




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   Council, 485 U.S. 568, 575 (1988). The Helms-Burton Act should not be interpreted to impose

   regulations on speech, particularly when there is no indication that Congress intended to do so.11

   Thus, there is no basis to conclude that WPP Defendants “trafficked” in the RRHSC Property.

   III.       PLAINTIFFS IMPROPERLY ATTRIBUTE CONDUCT OF ‘WPP GROUP’ TO
              WPP DEFENDANTS

              The bulk of new allegations in the SAC against WPP Defendants involve the introduction

   of an ill-defined “WPP Group” composed of “WPP ... Y&R, BCW, Ogilvy, and other WPP

   subsidiaries.” SAC ¶ 21. Throughout the SAC, Plaintiffs proceed to attribute actions to the WPP

   Group as a whole rather than to named defendants, apparently on the grounds that WPP Defendants

   may be held liable for each and every act performed by nonparty Ogilvy or all the unnamed WPP

   subsidiaries within Plaintiffs’ definition of the WPP Group. But “it is a general principle of

   corporate law ... that a parent corporation ... is not liable for the acts of its subsidiaries.” United

   States v. Bestfoods, 524 U.S. 51, 61 (1998). Plaintiffs do not justify holding WPP Defendants

   liable for the acts of each other or other distinct corporate entities. Moreover, this practice results

   in impermissible group pleading that denies the individual WPP Defendants notice of the

   allegations against them. For example:

          •   “[T]he WPP Group used multiple email addresses running through U.S.-based servers,
              including email running through the servers nominally controlled by Y&R (YR.com) and
              Ogilvy ….” SAC ¶ 23.



   11
      Even Senator Coverdell, the Helms-Burton floor manager, did not suggest that liability should
   extend to advertising vendors. When introducing Title III, he asked his colleagues to “[i]magine
   if you were in an airport in Canada or Europe and picked up a brochure actually advertising
   [confiscated] properties to the highest bidder? The Castro regime offers the sale of the Hermanos
   Diaz Refinery in Santiago, Cuba. Its rightful owner, however, Mr. President, is Texaco.” 142
   Cong. Rec. S1479-81 (daily ed. Mar. 5, 1996). Senator Coverdell explained that Helms-Burton
   was intended to impose liability on the property’s purchaser with no mention of the marketing
   company that made the brochure: “[Title III] ... puts would-be investors ... on notice that, if they
   enrich themselves with stolen property, they will be held liable.” Id. S1481.


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      •   “[T]obacco products ... were purchased, sold, manufactured, packaged or marketed from
          the RRHSC Property, through agents WPP Group, WPP, Y&R, BCW, Ogilvy, Twitter,
          YouTube, and Instagram.” Id. ¶ 42.

      •   “[N]o later than 2017, Imperial also decided, either directly or through Habanos, WPP, the
          WPP Group and U.S. Corporate Agents, to contract for the use of social media ‘portals’
          operated by still additional U.S. corporations.” Id. ¶ 61.

      •   “The agents retained by Imperial and Habanos include WPP through its advertising agency
          subsidiaries, including the WPP Group, Y&R, BCW, and Ogilvy. Among other things,
          those agencies assisted in setting up, or directly set up, the sponsored ‘official’ portals listed
          above on the Twitter, YouTube, and Instagram platforms (Y&R, BCW, Ogilvy, Twitter,
          YouTube, and Instagram, collectively, the ‘U.S. Corporate Agents’).” Id. ¶ 82.

          In each instance, Plaintiffs attribute actions to some undefined combination of WPP, BCW,

   Y&R, related corporate entities, and unrelated third parties. This is a straightforward violation of

   Rule 8(a), which requires that a complaint, at a minimum, “give the defendants adequate notice of

   the claims against them and the grounds upon which each claim rests.” Weiland v. Palm Beach

   Cnty. Sherriff’s Off., 792 F.3d 1313, 1321-23 (11th Cir. 2015). “Group pleading” is impermissible

   because it “fail[s] to provide fair notice of the claims by failing to specify which defendants

   interfered with which plaintiffs.” Quality Auto Painting Ctr. of Roselle, Inc. v. State Farm Indem.

   Co., 917 F.3d 1249, 1274 (11th Cir. 2019). Federal Rule 8(a)’s requirements are particularly

   important where, as here, Plaintiffs seek to hold a corporate parent vicariously liable for the acts

   of its subsidiaries. Lane v. Cap. Acquisitions & Mgmt. Co., 2006 WL 4590705, at *5 (S.D. Fla.

   Apr. 14, 2006), aff’d sub nom. Lane v. XYZ Venture Partners, L.L.C., 322 F. App’x 675 (11th Cir.

   2009); Court-Appointed Receiver of Lancer Offshore, Inc. v. Citco Group Ltd., 2008 WL 926512,

   at *1 (S.D. Fla. Mar. 31, 2008).

          Plaintiffs’ vague allegations with respect to the WPP Group obfuscate the allegations of

   liability as to the three WPP-related entities named as defendants. Plaintiffs offer no basis to hold

   WPP, BCW, and Y&R liable for the acts of unnamed subsidiaries, let alone for the acts of unrelated




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   entities like Twitter and Instagram. Even if Plaintiffs alleged some legal theory that would permit

   WPP Defendants to be held liable for acts other than their own, Plaintiffs do not identify the “other

   WPP subsidiaries” whose acts allegedly render WPP Defendants liable to Plaintiffs. The SAC

   should accordingly be dismissed for failing to meet the pleading standards of Rule 8(a).

   IV.    PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE

          A district court may dismiss a complaint with prejudice where “amendment would be

   futile,” which includes when an amended complaint repeats previously alleged claims. Overcash

   v. Shelnutt, 753 F. App’x 741, 745 (11th Cir. 2018) (internal quotations omitted); see also Barrett

   v. Scutieri, 2007 WL 9703152, at *4 (S.D. Fla. Mar. 19, 2007) (“Although leave to amend a

   complaint should be freely given when justice requires, it need not be given where, as here, there

   has been repeated failure to cure deficiencies by amendments previously allowed or when

   amendment would be futile.”), aff’d, 281 F. App’x 952 (11th Cir. 2008). Plaintiffs have already

   amended their complaint twice. Indeed, they did so after previewing two motions to dismiss filed

   by WPP Defendants, ECF Nos. 71-72, 74, and taking extensive jurisdictional discovery from Y&R

   and BCW. After three bites at the apple and jurisdictional discovery, it is clear that Plaintiffs are

   unable to allege sufficient facts to establish personal jurisdiction or state a claim. Because

   amendment is futile, the Court should dismiss the SAC with prejudice.

                                            CONCLUSION

          For the foregoing reasons, the Court should dismiss the SAC against WPP Defendants with

   prejudice.




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                                    REQUEST FOR HEARING

          This case raises novel and complex issues of law, and WPP Defendants accordingly request

   a hearing. The joint brief submitted concurrently by WPP Defendants, Imperial, and Habanos also

   includes a request for hearing, and WPP Defendants are amenable to holding a combined hearing

   on both the joint motion to dismiss and this separate motion to dismiss.




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